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                                                                           Pg 1 of 8
Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                AC I Neptune LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  307 West 38th Street, 20th Floor                                307 West 38th Street, 20th Floor
                                  New York, NY 10018                                              New York, NY 10018
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  3501 Route 66 Neptune, NJ 07753-2602
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor
                                                                              Pg 2 of 8    Case number (if known)
          AC I Neptune LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                            Relationship
                                                  District                                When                         Case number, if known




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Debtor
                                                                            Pg 3 of 8    Case number (if known)
         AC I Neptune LLC
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor
                                                                           Pg 4 of 8    Case number (if known)
          AC I Neptune LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 9, 2018
                                                  MM / DD / YYYY


                             X   /s/ Benjamin Ringel                                                     Benjamin Ringel
                                 Signature of authorized representative of debtor                        Printed name

                                         Member of RK Neptune LLC, Sole
                                 Title   Member of Debtor




18. Signature of attorney    X   /s/ Joel M. Shafferman                                                   Date August 9, 2018
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Joel M. Shafferman
                                 Printed name

                                 Shafferman & Feldman LLP
                                 Firm name

                                 137 Fifth Avenue
                                 9th Floor
                                 New York, NY 10010
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 509-1802                Email address      joel@shafeldlaw.com

                                 JMS-1055 NY
                                 Bar number and State




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Debtor
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           AC I Neptune LLC
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                   Chapter     11
                                                                                                               Check if this an
                                                                                                               amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     AC New Retail Investment LLC                                            Relationship to you     Affiliate
District   Southern District of New York              When     8/09/16             Case number, if known   16-23085
Debtor     Armstrong New West Retail LLC                                           Relationship to you     Affiliate
District   Southern District of New York              When     9/08/16             Case number, if known   16-23086




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 Fill in this information to identify the case:
 Debtor name AC I Neptune LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                     Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Armstrong                                                       Services                                                                                                   $3,500.00
 Maintenance Corp                                                Rendered
 307 West 38th, Suite
 2010
 New York, NY 10018
 Brach Eichler LLC                                               Legal Fees                                                                                                 $7,500.00
 Attn: Alan R.
 Hammer, Esq.
 101 Eisenhower
 Pkwy
 Roseland, NJ 07068
 Neptune Mortgage                                                                                                $3,500,000.00                         $0.00          $3,500,000.00
 Holdings, LLC
 Lowenstein Sandler
 One Lowenstein Dr
 Roseland, NJ 07068
 NJ Dept of Revenue                                              Taxes Owed                                                                                                 $3,000.00
 P.O. Box 628
 Trenton, NJ
 08646-0628
 Roto Rooter                                                     Services                                                                                                   $1,200.00
 3300 Shafto Rd #B                                               Rendered
 Neptune, NJ 07753
 Township of                                                     Taxes Owed                                            $2,160.00                       $0.00                $2,160.00
 Neptune
 25 Neptune Blvd
 Neptune, NJ 07753




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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x




                           ARMSTRONG MAINTENANCE CORP
                           307 WEST 38TH, SUITE 2010
                           NEW YORK, NY 10018


                           BRACH EICHLER LLC
                           ATTN: ALAN R. HAMMER, ESQ.
                           101 EISENHOWER PKWY
                           ROSELAND, NJ 07068


                           NEPTUNE MORTGAGE HOLDINGS, LLC
                           LOWENSTEIN SANDLER
                           ONE LOWENSTEIN DR
                           ROSELAND, NJ 07068


                           NJ DEPT OF REVENUE
                           P.O. BOX 628
                           TRENTON, NJ 08646-0628


                           ROTO ROOTER
                           3300 SHAFTO RD #B
                           NEPTUNE, NJ 07753


                           TOWNSHIP OF NEPTUNE
                           25 NEPTUNE BLVD
                           NEPTUNE, NJ 07753
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      AC I Neptune LLC                                                                              Case No.
                                                                                  Debtor(s)               Chapter      11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for AC I Neptune LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 RK Neptune LLC




    None [Check if applicable]




 August 9, 2018                                                       /s/ Joel M. Shafferman
 Date                                                                 Joel M. Shafferman
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for AC I Neptune LLC
                                                                      Shafferman & Feldman LLP
                                                                      137 Fifth Avenue
                                                                      9th Floor
                                                                      New York, NY 10010
                                                                      (212) 509-1802 Fax:(212 509-1831
                                                                      joel@shafeldlaw.com




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